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                           UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF FLORIDA

                     CASE NO. 05-20893-CR-GRAHAM/O’SULLIVAN



  UNITED STATES OF AMERICA,

                      Plaintiff,

  v.

  JOSE IGNACIO LOPEZ,

                  Defendant.
  __________________________________ /


  POWER TRADING INTERNATIONAL, INC.,

                      Third Party Petitioner.

  __________________________________ /

                            REPORT AND RECOMMENDATION

        THIS MATTER comes before the Court on third party petitioner Power Trading

  International, Inc.’s Petition for Hearing on Forfeiture (DE # 624, 10/19/06). This matter

  was referred to United States Magistrate Judge John J. O’Sullivan by the Honorable

  Donald L. Graham, United States District Court Judge for the Southern District of

  Florida, pursuant to 28 U.S.C. § 636(b). (DE# 632, 11/3/06).

        Having reviewed the Notice of Consent to Forfeiture by Power Trading

  International, Inc. (DE #690, 1/5/07) filed by the government, the undersigned

  RESPECTFULLY RECOMMENDS that Power Trading International, Inc.’s Petition for
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  Hearing on Forfeiture (DE # 624, 10/19/06) be DENIED as moot. The parties have ten

  (10) days from the date of receipt of this Report and Recommendation within which to

  serve and file written objections, if any, with the Honorable Donald Graham, United

  States District Court Judge. Failure to file timely objections shall bar the parties from

  attacking on appeal the factual findings contained herein. See LoConte v. Dugger, 847

  F. 2d 745 (11th Cir. 1988), cert. denied, 488 U.S. 958 (1988).

          DONE and ORDERED in Chambers at Miami, Florida, this 9th day of January,

  2007.

                                            ________________________________
                                            JOHN J. O’SULLIVAN
                                            UNITED STATES MAGISTRATE JUDGE
  Copies furnished to:
  U.S. District Judge Graham
  All Counsel of Record
